            Case 2:18-cr-00407-JAD-EJY Document 52 Filed 11/06/20 Page 1 of 1




1                      UNITED STATES DISTRICT COURT
2                           DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                         Case No. 2:18-cr-407-JAD-EJY

4                  Plaintiff,                          Order on Stipulation to Continue
                                                       Sentencing (Third Request)
5          v.                                                  ECF No. 51
6    JESSE CAINE BROCIUS,

7                  Defendant.

8

9           Based on the parties’ stipulation to continue the sentencing:

10   IT IS HEREBY ORDERED that the sentencing hearing presently scheduled for November

11   9, 2020, at the hour of 1:30 p.m. be continued to December 8, 2020, at the hour of 3:00

12   p.m. in Las Vegas Courtroom 6D before Judge Jennifer A. Dorsey.

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14    Dated: 11/6/2020
                                             HONORABLE JENNIFER A. DORSEY
15                                            UNITED STATES DISTRICT JUDGE

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